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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,


                    -against-                                       24-CR-542 (AS)

 SEAN COMBS,                                                              ORDER
                                Defendant.



ARUN SUBRAMANIAN, United States District Judge:
        The Court is in receipt of the Government’s December 20, 2024 ex parte letter
concerning certain investigative steps it took based on Combs’s notes. Given the content of
the letter, it is unclear why it cannot be shared with the defense in some form. By
January 31, 2025, the Government should either (1) provide defendant with a letter describing
—at the level of detail that is appropriate—what steps were taken; or (2) if no disclosure can be
made, provide an explanation to the Court as to why.

       SO ORDERED.

Dated: January 28, 2025
       New York, New York



                                                              ARUN SUBRAMANIAN
                                                              United States District Judge
